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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


 RHONDA M. OLIVA,
         Plaintiff
                                                     No. 22-cv-02512
       v.
                                                     Judge Jeremy C. Daniel
 MENARD, INC.,
          Defendant


                                        ORDER

The defendant’s motion for sanctions [88] is granted. The plaintiff shall pay the
defendant’s reasonable attorney’s fees and costs associated with the defendant’s filing
of its motion for sanctions and motion to seal, not to exceed $1,000. Prior to May 10,
2024, the parties shall confer on the defendant’s reasonable attorney’s fees and costs.
The defendant shall file a status report on or before May 10, 2024, that addresses its
reasonable attorney’s fees and costs and, if the plaintiff disputes the amount, its
justification for the fees and costs. If there is a dispute as to the amount, the plaintiff
shall file a response on or before May 17, 2024.

                                     STATEMENT

The Court entered an Agreed Confidentiality Order (“protective order”) in this case.
R. 23. The protective order allowed parties to designate materials as “Confidential –
Subject to Protective Order.” Id. at 2. The protective order restricted the use of
materials designated as confidential to this case, id. at 3, and required counsel to take
reasonable efforts to prevent the unauthorized or inadvertent disclosure of materials
designated as confidential. Id. at 5. The protective order notes that any party wishing
to file material designated as confidential must comply with Local Rule 26.2. Id. at 5-
6. The protective order also establishes a procedure by which parties may challenge
the designation of material as confidential. Id. at 6-7.

The defendant claims that plaintiff’s counsel failed to comply with the protective
order and moved for sanctions. R. 88. The defendant’s initial complaint was that
plaintiff’s counsel disclosed in another case excerpts of material designated
confidential in this case. See id. But plaintiff’s counsel correctly points out that the
amended complaint, R. 77 at 6-7, and answer to the amended complaint, R. 77 at 8-
9, disclosed that same information concerning the defendant’s policy #181. The
defendant had not objected to the disclosure in the amended complaint. As such, the
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disclosure in Case No. 21-cv-05572 does not warrant sanctions as that information
was already in the public record.

While the parties completed additional briefing on the defendant’s motion for
sanctions, see R. 92, plaintiff’s counsel filed a response to the defendant’s motion for
summary judgment. R. 93. Plaintiff’s counsel attached the defendant’s policy #181 as
an exhibit to that response. R. 93-1. That exhibit included information not previously
disclosed in any filings. See id. That exhibit also had “Confidential – Subject to
Protective Order” across the top of the page, “Confidential” at the bottom of the page,
and “Confidential” in red across the page. Id. Plaintiff’s counsel did not file a motion
to seal that exhibit. The defendant did, and the Court granted the defendant’s motion.
R. 96; R. 100.

By filing policy #181 publicly, plaintiff’s counsel violated the protective order. The
Court does not view the disclosure as inadvertent. Less than one week before
plaintiff’s counsel filed R. 93-1, he argued, “Again, all I did was quote the 181 policy.”
That changed when he filed policy #181—after a hearing during which the defendant
accused plaintiff’s counsel of violating the protective order by disclosing portions of
policy #181. During that hearing, the Court reminded plaintiff’s counsel that the
protective order remained in place, that plaintiff’s counsel was free to file motions to
amend the protective order, and that the protective order had a mechanism through
which he could challenge the defendant’s designations. The Court expressly told
plaintiff’s counsel that he did not get to decide whether a designation was
appropriate. Plaintiff’s counsel disregarded these admonishments and disclosed
policy #181 without authorization. For this unauthorized disclosure in violation of the
protective order, and for disregarding the Court’s admonishments concerning the
protective order, the Court awards the defendant reasonable attorney’s fees and costs
associated with filing its motion for sanctions, R. 88, and its motion to seal, R. 96.
This sanction shall not exceed $1,000. This sanction is appropriate because the
defendant should not have to bear the costs of plaintiff counsel’s refusal to follow the
Court’s orders. Plaintiff’s counsel could have avoided this situation by challenging the
protective order or by filing a motion to seal materials designated as confidential.

Plaintiff’s counsel also challenges whether the Court can award the defendant
reasonable attorney’s fees and costs under Fed. R. Civ. P. 37(b)(2)(C). But Rule 37 is
not the only source of the Court’s power to sanction plaintiff’s counsel. The Court also
has inherent authority to enforce its orders. See Greviskes v. Universities Rsch. Ass'n,
Inc., 417 F.3d 752, 758–59 (7th Cir. 2005) (“The district court may dismiss a case for
discovery violations or bad faith conduct in litigation under Federal Rule of Civil
Procedure 37 or under the inherent authority of the district court.”). In Greviskes, the
Seventh Circuit indicated that a district court could sanction a party under Rule 37
for violating a protective order. See id. (“As the file of Terry Erickson was not marked
“Confidential,” Angelita Greviskes was not technically in violation of the protective
order and as such, could not be held to have violated Rule 37.”). And in Salmeron, the

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Seventh Circuit determined that the district court did not abuse its discretion in
sanctioning a party’s unauthorized disclosure of a document that the parties agreed
to treat as “attorneys’ eyes only” (albeit absent a protective order). Salmeron v. Enter.
Recovery Sys., Inc., 579 F.3d 787, 798 (7th Cir. 2009). These cases reflect the Court’s
ability to enforce its discovery-related orders.



Date: April 24, 2024
                                                      JEREMY C. DANIEL
                                                      United States District Judge




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